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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                        )
                                                  )
                             Plaintiff,           )
                                                  )
                        v.                        )    No. 1:19-cr-00229-RLY-DML-01
                                                  )
 MAHDE DANNON                                     )
   a/k/a MAHDE MOHDKEAR DANNON,                   )
                                                  )
                             Defendant.           )

          ORDER DENYING MOTION FOR DOCKETING STATEMENT

        Defendant Mahde Dannon filed a notice of appeal on October 22, 2021. A

 docketing statement was filed in this court on that same day. Mr. Dannon's appeal is

 currently pending in the Seventh Circuit at Appellate Case No: 21-2975, and records

 show that a docketing statement has been filed in that court. After Defendant filed his

 notice of appeal, he moved for this court to reconsider his sentence. The court denied his

 motion for reconsideration, explaining that it lacks jurisdiction while his case is pending

 on appeal. Nevertheless, Defendant filed a Motion Requesting Docketing Statement on

 November 1, 2021. Because Defendant's notice of appeal divested this court of

 jurisdiction, and because the Motion for Docketing Statement is superfluous, Defendant's

 motion (Filing No. 119) is DENIED.




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        Defendant is reminded that the Seventh Circuit is the only court that can consider

 his case while his appeal is pending. He should not file any additional motions in this

 court until his appeal has been considered.

 IT IS SO ORDERED this 3rd day of November 2021.




                                                   s/RLY




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 Distributed Electronically to Counsel of Record.




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